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                                         DEFINITIONS

       4.       As used in reference to the FDCPA, the terms “creditor,” “communication”

“consumer,” “debt,” and “debt collector” are defined in Section 803 of the FDCPA and 15

U.S.C. § 1692a.

                                            PARTIES

       5.       The FDCPA, 15 U.S.C. § 1692 et seq., which prohibits certain debt collection

practices provides for the initiation of court proceedings to enjoin violations of the FDCPA and

to secure such equitable relief as may be appropriate in each case.

       6.       Plaintiff is a natural person and a resident of the State of New York, County of

New York, and is a “Consumer” as defined by 15 U.S.C. § 1692a(3).

       7.       Defendant, RFS is a limited liability company with it business located at 1 Eden

Parkway, LaGrange, Kentucky 40031-2020.

       8.       Upon information and belief, Defendant RFS is a company that uses the mail,

telephone, and facsimile and regularly engages in business the principal purpose of which is to

attempt to collect debts alleged to be due another.

       9.       Defendant RFS is a “Debt Collector” as that term is defined by 15 U.S.C.

§1692(a)(6).

       10.      John Does 1-25 are fictitious names of individuals and businesses alleged for the

purpose of substituting names of defendants whose identities will be disclosed in discovery and

should be made parties to this action.

                              CLASS ACTION ALLEGATIONS

       11.      Plaintiff brings this action as a class action, pursuant to Rule 23 of the Federal

Rules of Civil Procedure (hereinafter “FRCP”), on behalf of himself and all consumers and their




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successors in interest (the “Class”), who were sent debt collection letters and/or notices from the

Defendants which are in violation of the FDCPA, as described in this Complaint.

       12.       This Action is properly maintained as a statewide class action. The Class consists

of:

                All New York consumers who were sent letters and/or notices from RFS,

                 attempting to collect a debt, which contain at least one the violations alleged

                 herein.

                The Class period begins one year to the filing of this Action.

       13.       The Class satisfies all the requirements of Rule 23 of the FRCP for maintaining a

class action:

                    Upon information and belief, the Class is so numerous that joinder of all

                     members is impracticable because there are hundreds and/or thousands of

                     persons who have received debt collection letters and/or notices from the

                     Defendant that violate specific provisions of the FDCPA. Plaintiff is

                     complaining of a standard form letter and/or notice that is sent to hundreds of

                     persons (See Exhibit A and Exhibit B, except that the undersigned attorney

                     has, in accordance with Fed. R. Civ. P. 5.2 partially redacted the financial

                     account numbers in an effort to protect Plaintiff’s privacy);

                    There are questions of law and fact which are common to the Class and which

                     predominate over questions affecting any individual Class member. These

                     common questions of law and fact include, without limitation:

                           a.   Whether Defendant violated various provisions of the FDCPA;




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           b.      Whether Plaintiff and the Class have been injured by Defendants'

                   conduct;

           c.      Whether Plaintiff and the Class have sustained damages and are

                   entitled to restitution as a result of Defendants' wrongdoing and if

                   so, what is the proper measure and appropriate statutory formula to

                   be applied in determining such damages and restitution; and

           d.      Whether Plaintiff and the Class are entitled to declaratory and/or

                   injunctive relief.

       Plaintiff’s claims are typical of the Class, which all arise from the same

        operative facts and are based on the same legal theories.

       Plaintiff has no interest adverse or antagonistic to the interest of the other

        members of the Class.

       Plaintiff will fairly and adequately protect the interest of the Class and has

        retained experienced and competent attorneys to represent the Class.

       A Class Action is superior to other methods for the fair and efficient

        adjudication of the claims herein asserted. Plaintiff anticipates that no unusual

        difficulties are likely to be encountered in the management of this class action.

       A Class Action will permit large numbers of similarly situated persons to

        prosecute their common claims in a single forum simultaneously and without

        the duplication of effort and expense that numerous individual actions would

        engender. Class treatment will also permit the adjudication of relatively small

        claims by many Class members who could not otherwise afford to seek legal

        redress for the wrongs complained of herein. Absent a Class Action, Class



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                    members will continue to suffer losses of statutory protected rights as well as

                    monetary damages. If Defendants' conduct is allowed to proceed without

                    remedy, they will continue to reap and retain the proceeds of their ill-gotten

                    gains.

                   Defendants have acted on grounds generally applicable to the entire Class,

                    thereby making appropriate final injunctive relief or corresponding

                    declaratory relief with respect to the Class as a whole.

                                      FACTUAL ALLEGATIONS

       14.     Plaintiff is at all times to this lawsuit, a "consumer" as that term is defined by 15

U.S.C. §1692a(3).

       15.     RFS collects and attempts to collect debts incurred or alleged to have been

incurred for personal, family or household purposes on behalf of creditors using the United

States Postal Services, telephone and Internet.

       16.     RFS is a “debt collector” as defined by 15 U.S.C. §1692a(6).

       17. On or about November 9, 2014, Plaintiff had his prescription filled at Duane Reade

Pharmacy.

       18. On or about November 24, 2014, Plaintiff had a second prescription filled at Duane

Reade Pharmacy.

       19. On the date each prescription was filled, Plaintiff was covered by Horizon Blue Cross

Blue Shield of New Jersey.

       20. For some reason unknown to Plaintiff, Duane Reade Pharmacy submitted the claim to

Oxford.




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       21. For some reason unknown to Plaintiff, Oxford paid the claim submitted by Duane

Reade Pharmacy, directed to Duane Reade Pharmacy.

       22. At the time Oxford paid the claim submitted by Duane Reade Pharmacy, Oxford

knew or could have reasonable known that Plaintiff was not insured by Oxford.

       23.     Sometime prior to February 6, 2015 Plaintiff allegedly incurred a financial

obligation to Oxford.

       24.     Sometime prior to February 6, 2015, the alleged Oxford obligation became due.

       25.     Oxford is a "creditor" as defined by 15. U.S.C. §1692a(4).

       26.     At sometime prior to February 6, 2015, Oxford, either directly or through

intermediate transactions assigned, placed with, transferred or the Oxford obligation to RFS for

the purpose of collection.

       27.     At the time the Oxford obligation was assigned, placed with, transferred to RFS,

such obligation was overdue.

       28.     On or about February 6, 2015, RFS caused to be delivered to Plaintiff a letter in

an attempt to collect the alleged Oxford obligation. A copy of said letter is annexed hereto as

Exhibit A except that the undersigned attorney has, in accordance with Fed. R. Civ. P. 5.2

partially redacted the financial account numbers in an effort to protect Plaintiff’s privacy.

       29.     The February 6, 2015 letter was sent or caused to be sent by persons employed by

RFS as a “debt collector” as defined by 15 U.S.C. §1692a(6).

       30.     The February 6, 2015 letter is a “communication” as defined by 15 U.S.C.

§1692a(2).

       31.     The February 6, 2015 letter stated at the top in large bold face:

                             AUDIT NOTICE - ACCOUNT OVERDUE




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       32.       The February 6, 2015 letter also states in the first paragraph, also in bold face:

"Since you were note eligible for prescription plan benefits on these fill dates, "Oxford is due

full reimbursement of the amounts paid."

       33.       As of February 6, 2015, no court has determined that, Oxford is due full

reimbursement of the amounts paid.

       34.       The February 6, 2015 letter provided instructions to follow in the event Plaintiff

disputed the alleged debt because he believed there was a billing error, and was coverage by

another health plan.

       35.       Such instructions stated:

Method #1 - Contact the pharmacy that filled the prescription to correct the billing:

      Notify your pharmacist of this billing error and request to have the claims reversed to
       Oxford and billed to the insurance carrier that provided coverage on these dates of fill.

      Obtain a printout from the pharmacy indicating the claims were reversed, and return this
       with the payment stub below and write "billing corrected by pharmacy" on the payment
       stub.

Method # 2- Make payment to Oxford using the payment stub below and submit the claims
to your new insurance carrier for reimbursement:

      Contact your new insurance carrier that should have paid for these prescription claims
       and obtain a member reimbursement prescription claim form. Submit these claims to
       your new carrier for reimbursement.

       36.       The February 6, 2015 letter stated near the bottom and above the payment coupon

the following:

                  SEE REVERSE SIDE FOR IMPORTANT INFORMATION

       37.       The reverse side of the February 6, 2015 letter was blank.

       38.       On a separate document enclosed in the same envelope as the February 6, 2015

letter the following additional instructions were contained:




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               Unless you dispute the validity of this debt, or any portion thereof,
               within 30 days after receipt of this notice, we will assume that this
               debt is valid. If you notify us in writing, within this 30-day period,
               that the debt or any portion thereof is disputed, we will obtain
               written verification of the debt or a copy of a judgment against
               you, if any, and a copy of such judgment or verification will be
               mailed to you. In addition, upon your written request within the
               30-day period, we will provide you with the name and address of
               the original creditor, if different from the current creditor. Exhibit
               B.


        39.    Upon receipt of the February 6, 2015, letter, Plaintiff read said letter and the

document attached as Exhibit B.

        40.    RFS contends that the alleged Oxford obligation is overdue.

        41.    The Oxford obligation arose out of a transaction in which money, property,

insurance or services, which are the subject of the transaction, are primarily for personal, family

or household purposes.

                     POLICIES AND PRACTICES COMPLAINED OF

        42.    It is Defendants' policy and practice to send written collection communications, in

the form annexed hereto as Exhibit A and Exhibit B, which violate the FDCPA, by inter alia:

               (a)    Using false representations or deceptive means to collect or
                      attempt to collect the debt;

               (b)    Failing to effectively provide the validation information pursuant to 15
                      U.S.C. §1692g(a)(3).

        43.    On information and belief, RFS sent a written communication, in the form

annexed hereto as Exhibit A and/or Exhibit B, to at least 50 natural persons in the State of New

York.




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                                     COUNT I
                       FAIR DEBT COLLECTION PRACTICES ACT
                          VIOLATION OF 15 U.S.C. §1692g(a)(3)

       44.     Plaintiff repeats the allegations contained in paragraphs 1 through 44 as if the

same were set forth at length.

       45.     Collection letters and/or notices such as those sent by Defendant, are to be

evaluated by the objective standard of the hypothetical “least sophisticated consumer.”

       46.     Section 1692g(a) of the FDCPA requires the debt collector to give what is

commonly referred to as a thirty-day (30) notice within five (5) days of its initial communication

with the consumer and send the consumer a written notice containing:

                   a statement that unless the consumer, within thirty
                   days after receipt of the notice, disputes the validity
                   of the debt, or any portion thereof, the debt will be
                   assumed to be valid by the debt collector.

       47.     Upon reading the February 6, 2015 letter and the document included in the same

envelope, annexed hereto as Exhibit B, the least sophisticated consumer would be confused as to

what he must do to effectively dispute the alleged debt.

       48.     The least sophisticated consumer, who wanted to dispute the alleged debt or any

portion thereof, would be confused and unsure as to whether he should choose Method #1, as

stated in the letter February 6, 2015 letter, or Method #2, as also stated in the February 6, 2015

letter, or the instructions on the separate document also included in the same envelope as the

February 6, 2015 letter, or whether he was required to follow all 3 methods.

       49.     The instructional language in the February 6, 2015 letter overshadows and stands

in sharp contrast to validation notice pursuant to 15 U.S.C. §1692g(a)(3).




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                                            COUNT II

           VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT
                             15 U.S.C. § 1692e et seq.


       50.     Plaintiff repeats the allegations contained in paragraphs 1 through 50 as if the

same were set forth at length.

       51.     15 U.S.C. §1692e prohibits a debt collector from using "false, deceptive, or

misleading representation or means in connection with the collection of any debt."

       52.     Defendant violated 15 U.S.C. §1692e, because the least sophisticated consumer,

who wished to dispute the alleged debt or any portion thereof, would be confused and unsure as

to whether he should choose Method #1, as stated in the letter February 6, 2015 letter, or Method

#2, as also stated in the February 6, 2015 letter, or the instructions on the separate document also

included in the same envelope as the February 6, 2015 letter, or whether he was required to

follow all 3 methods.

       WHEREFORE, Plaintiffs demand judgment against the Defendant on each count as

follows:

               (a)      Declaring that this action is properly maintainable as a Class Action and

certifying Plaintiff as Class representative and the attorney, Joseph K. Jones, Esq. and Benjamin

J. Wolf, Esq., as Class Counsel;

               (b)      Awarding Plaintiff and the Class statutory damages;

               (c)      Awarding Plaintiff and the Class actual damages;

               (d)      Pre-judgment interest;

               (e)      Post judgment interest; and




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                (f)     Awarding Plaintiff costs of this Action, including reasonable attorneys'

fees and expenses; and

                (g)     Awarding Plaintiff and the Class such other and further relief as the Court

may deem just and proper.

Dated: New York, NY
       April 14, 2015

                                              /s/ Joseph K. Jones
                                              Joseph K. Jones (JJ-5509)
                                              Law Offices of Joseph K. Jones, LLC
                                              555 Fifth Avenue, Suite 1700
                                              New York, NY 10017
                                              (646) 459-7971 telephone
                                              (646) 459-7973 facsimile
                                              jkj@legaljones.com


                                              /s/ Benjamin J. Wolf
                                              Benjamin J. Wolf (BW-3338)
                                              Law Offices of Joseph K. Jones, LLC
                                              555 Fifth Avenue, Suite 1700
                                              New York, NY 10017
                                              (646) 459-797 telephone
                                              (646) 459-7973 facsimile
                                              bwolf@legaljones.com


                                 DEMAND FOR TRIAL BY JURY

        Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff hereby requests a

trial by jury on all issues so triable.



                                              /s/ Joseph K. Jones
                                              Joseph K. Jones (JJ-5509)

                                              /s/ Benjamin J. Wolf
                                              Benjamin J. Wolf (BW-3338)




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             Exhibit

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             Exhibit

                           B
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